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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                   Case No. 0:19-cv-62023-DPG

  KENDALL AIRPORT COMMERCE CENTER, INC.,

                 Plaintiff,
  v.

  GREAT LAKES INSURANCE SE,

                 Defendant.
                                                                /

                         JOINT NOTICE OF PENDING SETTLEMENT

         Defendant, Great Lakes Insurance SE, and Plaintiff, Kendall Airport Commerce Center,

  Inc. (the “Parties”), hereby jointly provide notice to the Court that the Parties have reached a

  settlement with regard to the entirety of this case, and are now drafting, finalizing, and executing

  settlement documents. Upon Plaintiff’s receipt of the confidential and agreed upon consideration

  to be paid by Defendant, the Parties will file a Motion for Stipulated Voluntary Dismissal with

  Prejudice. Accordingly, and most respectfully, the Parties request this Honorable Court place this

  matter in inactive status and toll all pending deadlines, so as to permit the parties thirty (30) days

  to complete the settlement and file the aforementioned motion seeking to dismiss this lawsuit.

         Respectfully and jointly submitted September 15, 2020.

  By:    /s/ Ramon J. Diego                             By:    /s/ David B. Levin
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         Counsel for Plaintiff                                 Attorneys for Defendant
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 15, 2020, a true and correct copy of the foregoing

  Notice of Pending Settlement was sent to all attorneys of record electronically via the Court's

  CM/ECF System including but not limited to the following:

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                                                      /s/ David B. Levin




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